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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                               NO. CR07-264-RSM

 9                                    Plaintiff,

10             v.                                            SUMMARY REPORT OF
                                                             U.S. MAGISTRATE JUDGE AS
11
     TRINA LYNETTE CALDWELL,                                 TO ALLEGED VIOLATIONS
12                                                           OF SUPERVISED RELEASE
                                      Defendant.
13

14             An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on November 19, 2012. The United States was represented by

16   Assistant United States Attorney Jeffrey Backus for Vince Lombardi, and the defendant by Lee

17   Covell.

18             The defendant had been charged with Bank Fraud, in violation of 18 U.S.C. § 1344 and

19   Aggravated Identity Theft, in violation of 18 U.S.C. §§ 1028A and 2. On or about February 1,

20   2008, defendant was sentenced by the Honorable Ricardo S. Martinez to a term of 60 months

21   in custody, to be followed by 5 years of supervised release.

22             The conditions of supervised release included the requirements that the defendant

23   comply with all local, state, and federal laws, and with the standard conditions. Special

24   conditions imposed included, but were not limited to, participation in substance abuse and

25   mental health programs, financial disclosure, and $30,647.70 restitution.

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1          In a Petition for Warrant or Summons dated October 25, 2012, U.S. Probation Officer

 2   Jennifer Van Flandern asserted the following violation by defendant of the conditions of her

 3   supervised release:

 4          1.      Associating with a convicted felon, Fred Curtis, between April and October
                    2012, without permission to do so by the probation office, in violation of
 5
                    standard condition number 9.
 6          The defendant was advised of her rights, acknowledged those rights, and admitted to
 7   violation 1.
 8          I therefore recommend that the Court find the defendant to have violated the terms and
 9   conditions of her supervised release as to violation 1, and that the Court conduct a hearing
10   limited to disposition. A disposition hearing on these violations has been set before the
11   Honorable Ricardo S. Martinez on November 30, 2012 at 10:00 a.m.
12          Pending a final determination by the Court, the defendant has been released, subject to
13   supervision.
14          DATED this 19th day of November, 2012.
15

16                                                AJAMES P. DONOHUE
17                                                 United States Magistrate Judge
18

19   cc:    District Judge:                Honorable Ricardo S. Martinez
            AUSA:                          Vince Lombardi
20          Defendant’s attorney:          Lee Covell
            Probation officer:             Jennifer Van Flandern
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
